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5
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7    Estate of John Barkodar, M.D.,
     Lior Barkodar,
8    Leon Barkodar,
     Linda Barkodar,
9    And Maryam Barkodar
10                             UNITED STATES DISTRICT COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
12
     ESTATE OF JOHN BARKODAR, M.D.,                ) CASE NO:
13 by and through its representatives LIOR         )
     BARKODAR, and LEON BARKODAR,                  ) COMPLAINT FOR DAMAGES:
14 LINDA BARKODAR, and MARYAM                      )
15 BARKODAR, individually,                         ) (1) WRONGFUL DEATH
                                                   ) (2) NEGLIGENCE
16                        Plaintiffs,              ) (3) PUBLIC NUISANCE
                                                   ) (4) PRIVATE NUISANCE
17 v.                                              ) (5) FAILURE TO WARN
                                                   )
18 CITY OF SOUTH GATE, a municipal                 )
19 corporation; 3M COMPANY, a Delaware             ) DEMAND FOR JURY TRIAL
     Corporation; and DOES 1 through 50,           )
20 inclusive,                                      )
                                                   )
21                     Defendants.                 )
     ________________________________              )
22
23
24                                        INTRODUCTION
25 1. This action arises from the death of Dr. John Barkodar from kidney cancer on May 8,
26      2022, caused by decades of exposure to toxic chemicals and contaminants in the
        drinking water in South Gate, California, where Dr. Barkodar worked continuously
27
        from approximately 1990 until shortly before his death.
28

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1    2. For decades, Defendants knew or should have known that the water supply in South
2        Gate was contaminated with dangerous chemicals, including but not limited to

3        tetrachloroethylene (PCE), dichloroethylene (DCE), trichloroethylene (TCE), per-
         polyfluoroalkyl substances (PFAS), and other industrial solvents and chemicals
4
         known to cause cancer and kidney damage in humans.
5
     3. PFAS are a class of man-made chemicals that include perfluorooctane sulfonate
6        (“PFOS”) and perfluorooctanoic acid (“PFOA”).
7    4. In this Complaint, references to PFOS and PFOA also include all of their salts and
8        precursor chemicals.

9    5. Defendants designed, manufactured, marketed, sold and/or assumed or acquired
         liabilities for the manufacture and/or sale of PFOS, PFOA, and/or products containing
10
         PFOS or PFOA, including but not limited to aqueous film-forming foam (“AFFF”)
11
         (collectively, “Fluorosurfactant Products”).
12 6. Despite this knowledge, Defendants failed to adequately warn Dr. Barkodar and other
13    residents and workers in South Gate about the contamination, failed to adequately
14       treat the water to remove these dangerous chemicals, and/or failed to prevent the

15       release of these chemicals into the environment and water supply.
     7. As a direct and proximate result of Defendants’ actions and omissions, Dr. Barkodar
16
         was exposed to these toxic chemicals for more than 30 years, leading to his
17
         development of kidney cancer, his suffering, and his untimely death.
18
19                                 JURISDICTION AND VENUE
20 5. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 based on
21       diversity of citizenship among the parties and because the amount in controversy
         exceeds $75,000, exclusive of interest and costs.
22
     6. This Court also has federal question jurisdiction pursuant to 28 U.S.C. § 1331 as this
23
         action arises under federal environmental laws, including but not limited to the Safe
24
         Drinking Water Act, 42 U.S.C. § 300f et seq., the Comprehensive Environmental
25       Response, Compensation, and Liability Act (“CERCLA”), 42 U.S.C. § 9601 et seq.,
26       the Toxic Substances Control Act (“TSCA”), 15 U.S.C. § 2601 et seq., and other
27       federal statutes and regulations protecting drinking water and public health.

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1    7. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because a
2        substantial part of the events or omissions giving rise to the claims occurred in this

3        district, and the property that is the subject of the action is situated in this district.

4
                                                  PARTIES
5
     8. Plaintiff Estate of John Barkodar, M.D. is the legal entity representing the interests of
6        Dr. John Barkodar, deceased, who was a resident of Los Angeles County, California,
7        and who operated his medical practice in the City of South Gate continuously from
8        approximately 1990 until shortly before his death on May 8, 2022.

9    9. Plaintiff Lior Barkodar is an individual residing in Los Angeles County, California,
         and is the son of Dr. John Barkodar. He brings this action both as a representative of
10
         the Estate of John Barkodar and in his individual capacity as a survivor of Dr.
11
         Barkodar.
12 10. Plaintiffs Leon Barkodar and Linda Barkodar are individuals residing in Los Angeles
13     County and are the son and daughter of Dr. John Barkodar. They bring this action
14       both as representatives of the Estate of John Barkodar and in their individual

15       capacities as survivors of Dr. Barkodar.
     11. Plaintiff Maryam Barkodar is an individual residing in Los Angeles County and is the
16
         wife of Dr. John Barkodar. She brings this action both as a representative of the
17
         Estate of John Barkodar and in her individual capacity as a survivor of Dr. Barkodar.
18 12. Defendant City of South Gate (“City”) is a municipal corporation organized and
19     existing under the laws of the State of California. The City owns and operates the
20       public water system serving the City of South Gate, including the facilities that
21       supplied water to Dr. Barkodar's medical offices located at 3314 Firestone Boulevard
         and 2809 Tweedy Boulevard in South Gate, California.
22
     13. Defendant 3M Company (“3M”), formerly known as Minnesota Mining and
23
         Manufacturing Company, is a Delaware corporation with its principal place of
24
         business at 3M Center, St. Paul, Minnesota. 3M is the only company that
25       manufactured AFFF containing PFOS and/or its precursor chemicals. 3M is
26       authorized to conduct business in California.
27 14. The true names and capacities of Defendants DOES 1 through 50, inclusive, whether
28       individual, corporate, associate, or otherwise, are unknown to Plaintiffs at this time.

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1        Plaintiffs are informed and believe, and thereon allege, that each of the DOE
2        Defendants is in some manner legally responsible for the events and happenings

3        referred to herein and for Plaintiffs' damages. Plaintiffs will amend this Complaint to
         show the true names and capacities of these Defendants when they have been
4
         ascertained.
5
6                                  FACTUAL ALLEGATIONS
7    15. Dr. John Barkodar operated his medical practice in the City of South Gate
8        continuously from approximately 1990 until shortly before his death in 2022.

9    16. From approximately 1990 to 2005, Dr. Barkodar's medical office was located at 3314
         Firestone Boulevard, South Gate, California 90280.
10
     17. From approximately 2006 to 2022, Dr. Barkodar's medical office was located at 2809
11
         Tweedy Boulevard, South Gate, California 90280.
12 18. Throughout his time working in South Gate, Dr. Barkodar consumed water from the
13     City's public water system on a daily basis.
14 19. Unbeknownst to Dr. Barkodar, the water he consumed was contaminated with
15       dangerous chemicals, including but not limited to PCE, DCE, TCE, PFAS, PFOS, and
         other industrial solvents and chemicals known to cause cancer and kidney damage in
16
         humans.
17
     20. 3M began producing PFAS chemicals in the 1950s, which were used in various
18       household products including its blockbuster product Scotchgard.
19 21. 3M produced approximately 70% of PFOA and PFOS that was historically used in
20     the United States before stopping production of these chemicals in the early 2000s.
21 22. Internal studies and other documents show that 3M knew by the 1970s that PFOA and
         PFOS were toxic and accumulating in people's blood.
22
     23. In 1975, independent scientists first alerted 3M that they found PFAS chemicals in
23
         human blood in Texas and New York, identifying Scotchgard as a likely source of
24
         contamination.
25 24. In the 1990s, a 3M environmental scientist detected PFOS in the blood of eagles and
26     found that rats had the chemical in their livers, likely from fish-containing food.
27 25. After confirming PFAS was in human blood, 3M attorneys urged the company "not to
28       release the true identity of the source," according to company records.

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1    26. A top 3M researcher, Dr. Richard Purdy, testified during a deposition that he was
2        concerned about how 3M had conducted research into PFAS chemicals, expressing

3        "profound disappointment" in the company's handling of environmental risks in his
         1999 resignation letter.
4
     27. PFAS contamination occurred when firefighting foams containing these chemicals
5
         were sprayed in fields or airports and left to seep into groundwater and other
6        waterways.
7    28. Contamination also came from chemical manufacturing plants themselves, which
8        produced PFAS for thousands of products including clothing, non-stick cookware,

9        food packaging, carpeting, and beauty products.
     29. PFAS have been linked to a range of health issues including decreased fertility, high
10
         blood pressure in pregnant people, increased risk of certain cancers, developmental
11
         delays, hormonal disruption, and reduced effectiveness of the immune system.
12 30. As early as 1985, the City knew that its water supply was contaminated with
13     dangerous chemicals, as testing of wells in the central water basin, including South
14       Gate, showed that many wells had traces of tetrachloroethylene and dichloroethylene.

15 31. In November 1985, the City closed its first well off Garfield Avenue after tests
         revealed 8 parts per billion of tetrachloroethylene, which exceeded acceptable levels.
16
     32. In January 1986, two more wells in South Gate Park were closed due to levels of
17
         tetrachloroethylene and dichloroethylene exceeding state standards.
18 33. By January 1987, chemical contamination had forced South Gate to close 5 of 11
19     wells that supplied half its water.
20 34. Around late 1986, tests on two wells showed levels of tetrachloroethylene exceeding
21       the state Department of Health Services' recommended “action level” of four parts per
         billion, with South Gate wells exceeding it at 10 and 14 parts per billion.
22
     35. The City was aware that these levels of contamination posed a cancer risk to those
23
         who consumed the water. According to public reports, “The four parts per billion
24
         means that you have a one-in-a-million risk in contracting cancer if you were to drink
25       two liters of water containing the four parts for 70 years...”
26 36. In December 1988, a sixth well was closed due to contamination by an industrial
27       solvent at a level higher than recommended by the state, a chemical suspected of

28       causing cancer in humans.

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1    37. By January 1989, South Gate was planning a $5-million treatment plant for five
2        polluted wells and had removed a sixth well from service due to chemical

3        contamination.
     38. Around January 1989, Cooper Drum Company was being investigated as a potential
4
         source of the PCE contamination that forced South Gate to close four wells in 1986.
5
     39. In February 1992, the EPA proposed adding Cooper Drum Co. to the national
6        Superfund List due to soil and groundwater contaminated with industrial solvents and
7        other chemicals, including cancer-causing vinyl chloride and benzene.
8    40. In February 1993, South Gate was building a $4-million underground reservoir to

9        store water from four wells closed in 1985 due to contamination by PCE. The water
         in these wells exceeded the federally accepted standard for PCE, and it was known
10
         that exposure to high levels of PCE could result in various health issues, including
11
         liver and kidney damage.
12 41. Despite this knowledge, the City failed to adequately warn Dr. Barkodar and other
13     residents and workers in South Gate about the contamination, failed to adequately
14       treat the water to remove these dangerous chemicals, and/or failed to prevent the

15       release of these chemicals into the environment and water supply.
     42. As a result of his daily exposure to these toxic chemicals for more than 30 years, Dr.
16
         Barkodar developed kidney cancer.
17
     43. Dr. Barkodar was first diagnosed with kidney cancer in late 2016.
18 44. Dr. Barkodar was diagnosed with a recurrence of kidney cancer in March 2020.
19 45. Despite medical treatment, Dr. Barkodar's condition deteriorated, particularly in the
20       six weeks before his passing.
21 46. Dr. Barkodar passed away on May 8, 2022, as a result of his battle with kidney
         cancer.
22
     47. Dr. Barkodar is survived by his sons, Lior Barkodar and Leon Barkodar, his daughter
23
         Linda Barkodar, and his mother Maryam Barkodar.
24
     48. Dr. Barkodar's death was a direct and proximate result of his exposure to the toxic
25       chemicals in the water supply in South Gate, which was caused by the negligence,
26       wrongful conduct, and failure to warn of the Defendants.
27
28
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1                                  FIRST CAUSE OF ACTION
2                                    WRONGFUL DEATH

3                                   (Against All Defendants)
     49. Plaintiffs incorporate by reference all preceding paragraphs as though fully set forth
4
        herein.
5
     50. Defendants owed Dr. Barkodar a duty to provide safe drinking water, to warn of
6       known contamination, and to prevent foreseeable harm from exposure to toxic
7       chemicals in the water supply.
8    51. 3M knew by the 1970s that PFAS chemicals were toxic and bioaccumulative but

9       continued production for decades.
     52. 3M failed to adequately warn about the known health risks of PFAS exposure,
10
        including risks to kidneys and cancer potential.
11
     53. 3M failed to take timely action to prevent ongoing contamination after learning of
12      widespread PFAS pollution.
13   54. Defendants breached this duty by, among other things:
14             a. Failing to provide safe drinking water;

15             b. Failing to adequately treat contaminated water;
               c. Failing to adequately warn Dr. Barkodar and others about the
16
                   contamination;
17
               d. Failing to prevent the release of toxic chemicals into the environment and
18                 water supply;
19             e. Failing to comply with federal and state regulations regarding safe
20                 drinking water; and
21             f. Failing to take appropriate remedial actions when contamination was
                   discovered.
22
     55. As a direct and proximate result of Defendants’ breaches of duty, Dr. Barkodar was
23
        exposed to toxic chemicals, developed kidney cancer, and died.
24
     56. As a further direct and proximate result of Defendants’ actions and omissions,
25      Plaintiffs have suffered the loss of Dr. Barkodar's love, companionship, comfort,
26      care, assistance, protection, affection, society, and moral support, as well as the loss
27      of his financial support and contributions.

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1    57. Defendants’ conduct was willful, wanton, malicious, and in conscious disregard of
2       the rights and safety of Dr. Barkodar and others, justifying an award of punitive

3       damages against non-governmental Defendants.

4
                                SECOND CAUSE OF ACTION
5
                                         NEGLIGENCE
6                                   (Against All Defendants)
7    58. Plaintiffs incorporate by reference all preceding paragraphs as though fully set forth
8       herein.

9    59. Defendants owed Dr. Barkodar a duty to exercise reasonable care in the operation,
        maintenance, and management of the water supply system, and to prevent
10
        foreseeable harm from exposure to toxic chemicals.
11
     60. Defendants breached this duty by failing to exercise reasonable care in the operation,
12      maintenance, and management of the water supply system, and by failing to prevent
13      foreseeable harm from exposure to toxic chemicals.
14   61. 3M had a duty to properly test its PFAS products for safety before widespread

15      distribution.
     62. 3M breached its duty by continuing to manufacture and sell PFAS products despite
16
        internal research showing health and environmental concerns.
17
     63. 3M negligently concealed information about PFAS dangers from the public and
18      regulators.
19   64. As a direct and proximate result of Defendants’ negligence, Dr. Barkodar was
20      exposed to toxic chemicals, developed kidney cancer, suffered pain and disability,
21      and died.
     65. As a further direct and proximate result of Defendants’ negligence, Plaintiffs have
22
        suffered damages, including but not limited to funeral and burial expenses, medical
23
        expenses, loss of financial support, and loss of love, companionship, comfort, care,
24
        assistance, protection, affection, society, and moral support.
25
26
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1                                THIRD CAUSE OF ACTION
2                                     PUBLIC NUISANCE

3                                   (Against All Defendants)
     66. Plaintiffs incorporate by reference all preceding paragraphs as though fully set forth
4
        herein.
5
     67. Defendants created and/or assisted in the creation of a condition that was harmful to
6       health, indecent and offensive to the senses, and an obstruction to the free use of
7       property, so as to interfere with the comfortable enjoyment of life and property by a
8       substantial number of persons, including Dr. Barkodar.

9    68. The contamination of the water supply in South Gate constituted a public nuisance
        because it affected a substantial number of people simultaneously.
10
     69. Dr. Barkodar suffered harm that was different from the type of harm suffered by the
11
        general public because he was exposed to the contaminated water on a daily basis at
12      his medical practice for more than 30 years, leading to his development of kidney
13      cancer and his death.
14   70. As a direct and proximate result of the public nuisance created and/or maintained by

15      Defendants, Dr. Barkodar developed kidney cancer, suffered pain and disability, and
        died, and Plaintiffs have suffered damages as previously alleged.
16
17
                                FOURTH CAUSE OF ACTION
18                                   PRIVATE NUISANCE
19                                  (Against All Defendants)
20   71. Plaintiffs incorporate by reference all preceding paragraphs as though fully set forth
21      herein.
     72. Defendants created and/or assisted in the creation of a condition that was harmful to
22
        health, indecent and offensive to the senses, and an obstruction to the free use of
23
        property, so as to interfere with the comfortable enjoyment of Dr. Barkodar's medical
24
        practice.
25   73. The contamination of the water supply serving Dr. Barkodar's medical offices
26      constituted a private nuisance because it substantially interfered with Dr. Barkodar's
27      use and enjoyment of his property.

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1    74. As a direct and proximate result of the private nuisance created and/or maintained by
2       Defendants, Dr. Barkodar developed kidney cancer, suffered pain and disability, and

3       died, and Plaintiffs have suffered damages as previously alleged.

4
                                  FIFTH CAUSE OF ACTION
5
                                      FAILURE TO WARN
6                                   (Against All Defendants)
7    75. Plaintiffs incorporate by reference all preceding paragraphs as though fully set forth
8       herein.

9    76. Defendants knew or should have known that the water supply in South Gate was
        contaminated with dangerous chemicals that posed a risk to human health, including
10
        a risk of cancer.
11
     77. 3M should have provided clear warnings about PFAS contamination risks to
12      communities where its products were used, including South Gate.
13   78. 3M had decades of internal research showing potential health hazards but failed to
14      adequately communicate these risks to the public.

15   79. 3M continued to market and sell PFAS-containing products without sufficient safety
        warnings.
16
     80. Defendants had a duty to warn Dr. Barkodar and others about the contamination and
17
        the risks it posed.
18   81. Defendants breached this duty by failing to provide adequate warnings about the
19      contamination and the risks it posed.
20   82. Had Dr. Barkodar been adequately warned about the contamination and the risks it
21      posed, he would have taken steps to avoid or minimize his exposure to the
        contaminated water.
22
     83. As a direct and proximate result of Defendants’ failure to warn, Dr. Barkodar was
23
        exposed to toxic chemicals, developed kidney cancer, suffered pain and disability,
24
        and died, and Plaintiffs have suffered damages as previously alleged.
25
26                                    PRAYER FOR RELIEF
27      WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

28   1. For general damages in an amount according to proof;

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1    2. For special damages, including but not limited to medical expenses, funeral and
2       burial expenses, and loss of financial support, in an amount according to proof;

3    3. For punitive damages against non-governmental Defendants in an amount according
        to proof;
4
     4. For costs of suit incurred herein;
5
     5. For prejudgment interest as provided by law, and
6    6. For such other and further relief as the Court deems just and proper.
7
8                                     DEMAND FOR JURY TRIAL

9    Plaintiff hereby demands a trial by jury on all issues so triable.

10
     DATED: April 30, 2025
11
                                                                   Jason Ingber
12                                                                 Jason M. Ingber, Esq.
13                                                                 INGBER LAW GROUP
                                                                   Attorney for Plaintiff
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